                Case: 1:19-cv-06485 Document #: 9 Filed: 02/13/20 Page 1 of 1 PageID #:92


                                                    AFFIDAVIT OF SERVICE

UNITED STATES DISTRICT COURT                                                           Case #: 19-CV-6485
NORTHERN DISTRICT OF ILLINOIS

                                                Roor International BV and Sream, Inc.
                                                                                                                  Plaintiff
                                                                   vs.

                              Tobacco Outlet Depot, Inc. d/b/a Tobacco Outlet and Mohammad Anis
                                                                                                                 Defendant

The undersigned, being first duly sworn, on oath deposes and says: That s(he) is now and at all the times herein mentioned was
a citizen of the United States, over the age of 18, not a party to nor interested in the above entitled action, is competent to be
witness therein, and that I served copies of the:

                              Alias Summons & Complaint For Injunctive Relief and Damages

PARTY SERVED: TOBACCO OUTLET DEPOT, INC. D/B/A TOBACCO OUTLET

PERSON SERVED: MOHAMMAD ANIS, REGISTERED AGENT

METHOD OF SERVICE: Corporate - By leaving copies with the person identified above who stated they were authorized to
accept service.

DATE & TIME OF DELIVERY: 02/12/2020 at 9:50 PM

ADDRESS, CITY AND STATE: 4401 MADISON ST, SKOKIE, IL 60076

DESCRIPTION: Middle Eastern, Male, 45, 5'10'', 190 lbs, Black/Balding hair

I declare under penalties of perjury that the information contained herein is true and correct.




__________________________________________
Steven A. Stosur, Lic # 117-001119
Judicial Attorney Services, Inc.
2100 Manchester Rd., Ste 505
Wheaton, IL 60187
(630) 221-9007

SUBSCRIBED AND SWORN to before me on the 13th day of February, 2020.



_______________________________________________
NOTARY PUBLIC




CLIENT: Langone, Johnson & Cassidy, LLC                                                                              Tracking #: 428823
FILE #:
